        Case 4:23-cr-06027-RLP               ECF No. 87     filed 12/05/23    PageID.187        Page  1 of 1
                                                                                                   FILED IN THE
                                                                                                  U.S. DISTRICT COURT
                                                                                            EASTERN DISTRICT OF WASHINGTON



                               SUPERSEDING CHARGES AND PENALTIES                             Dec 05, 2023
                                                                                                 SEAN F. MCAVOY, CLERK

     CASE NAME: ROBERTO VALENCIA VALDEZ CASE NO. __4:23-cr-06027-SAB-4_____


     TOTAL # OF COUNTS: __1___                 ☒ FELONY         ☐ MISDEMEANOR             ☐ PETTY OFFENSE




Count          Statute                 Description of Offense                             Penalty

                                                                    CAG minimum of 10 years and a maximum of life
                                                                    imprisonment, $10,000,000 fine, or both; not less
        21 U.S.C. §§
                                Conspiracy to Distribute 5          than 5 years and up to life supervised release;
 1      841(a)(1), (b)(1)(A)
                                Kilograms or More of Cocaine        a $100.00 special assessment, deportation, and
        (ii), 846
                                                                    denial of certain federal benefits pursuant to 21
                                                                    U.S.C. §§ 862 and 862a

        21 U.S.C. § 853, 18
                                Forfeiture
        U.S.C. § 924(d)(1),
        28 U.S.C § 2461(c)
